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                                                  January 17, 2022


   UNITED STATES DISTRICT COURT                                    1

   SOUTHERN DISTRICT OF NEW YORK

   ------------------------------------------------ X

   ANTHONY RAPP and C.D.,

                       Civil Action No. 1:20-cv-09586(LAK)

                             Plaintiffs,

                       - against -

   KEVIN SPACEY FOWLER a/k/a KEVIN SPACEY,

                             Defendant.

   ------------------------------------------------ X

                             Zoom Deposition



                             January 17, 2022

                             11:06 a.m.



                  EXAMINATION BEFORE TRIAL of the

   Defendant, KEVIN FOWLER, pursuant to Order, held on

   the above date and time, via videoconference, taken

   by and before KRYSTINA KORNAK FLORA, RPR, a Notary

   Public within and for the State of New York.




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(1)                             - KEVIN FOWLER -                          45

(2)                      MS. KELLER:     Objection.     Argumentative.

(3)              Q.      When did you form the opinion that it

(4)       didn't happen?

(5)                      MS. KELLER:     Objection.     No foundation

(6)              that this is an opinion.

(7)              Q.      You can answer.

(8)              A.      I had always had questions about

(9)       Mr. Rapp's allegation even from the very moment that

(10)      his article was printed, and those questions

(11)      persisted until I began to investigate, the

(12)      questions I didn't have answers to and the questions

(13)      in the article that Mr. Rapp didn't supply.

(14)                     And once I began to answer those

(15)      questions and I began to see the factual evidence

(16)      that would prove to me that the allegation that

(17)      Mr. Rapp made couldn't have possibly happened, and

(18)      then I couldn't have imagined that I would end up

(19)      being in a lawsuit and there would end up being

(20)      testimony, then it would be discovery, and this

(21)      process and testimony that has entirely made me know

(22)      that the claim that Mr. Rapp made against me did not

(23)      happen.

(24)             Q.      What evidence and testimony are you

(25)      referring to?




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(1)                               CERTIFICATION                           364

(2)       STATE OF NEW YORK       )

                                      )   ss.:

(3)       COUNTY OF NASSAU        )

(4)

(5)                           I, KRYSTINA KORNAK, a Notary Public

(6)       within and for the State of New York, do hereby

(7)       certify:

(8)                           That KEVIN FOWLER the witness(es)

(9)       whose deposition(s) is(are) hereinbefore set forth,

(10)      was(were) duly sworn by me and that such

(11)      deposition(s) is(are) a true and accurate record of

(12)      the testimony given by such witness(es).

(13)                          I further certify that I am not

(14)      related to any of the parties to the action by blood

(15)      or marriage; and that I am in no way interested in

(16)      the outcome of this matter.

(17)                          IN WITNESS WHEREOF, I have hereunto

(18)      set my hand this 19th day of January, 2022.

(19)

(20)                          __________________________

(21)                                  KRYSTINA KORNAK

(22)

(23)

(24)

(25)




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